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16
      UNITED STATES DISTRICT COURT
17    CENTRAL DISTRICT OF CALIFORNIA
18
       GENIVA           O’KEEFE,          CAROL   Case No. 2:17-cv-08452-SVW-AFM
19     TOMLINSON, on behalf of themselves
       and all others similarly situated,         PLAINTIFFS’ MEMORANDUM
20            Plaintiffs,                         IN OPPOSITION TO
21     v.                                         DEFENDANTS’ MOTION TO
       PICK FIVE IMPORTS d/b/a MAXI-              DISMISS
22     MATIC USA, INC.,
              Defendant.                          Hearing Date: April 16, 2018
23                                                Time: 1:30 p.m.
                                                  Dept. 10A
24                                                Judge: Honorable Stephen V. Wilson
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 1
                                        INTRODUCTION
 2           Defendant Pick Five Imports, Inc. d/b/a Maxi-Matic USA, Inc. (“Maxi-Matic”)
 3    seeks dismissal under Rule 12 based upon on an interpretation of the First Amended
 4    Complaint (“FAC”) that ignores the detailed and specific factual allegations it contains.
 5    The motion should be denied.
 6                                             FACTS
 7           Maxi-Matic designed, manufactured, marketed, and sold Elite Bistro Pressure
 8    Cookers, Model Number EPC-808 (“Pressure Cookers”), to Plaintiffs and Class
 9    Members. FAC ¶ 1, ECF No. 33.
10           When Maxi-Matic sold the Pressure Cookers to Plaintiffs, Maxi-Matic knew that
11    the Pressure Cookers contained one or more design, materials, and/or manufacturing
12    defects, yet sold them anyway.
13           The Pressure Cookers have a defective lid locking mechanism that allows the
14    unit to pressurize even though the lid is not securely sealed, and also allows the lid to
15    be rotated and removed when the Pressure Cooker remains dangerously pressurized
16    (“the Defect”). FAC ¶ 3.
17           As evidenced by Plaintiff O’Keefe’s injuries, this defect can cause the contents
18    inside the Pressure Cooker to erupt and discharge scalding hot contents onto
19    unsuspecting consumers, which can cause significant injuries. Id.
20           The Defect is present at the point of sale and unknown to the consumer, and
21    can manifest during the expected useful life of the Pressure Cookers, while using the
22    Pressure Cookers in their intended and reasonably foreseeable manner, creating an
23    unreasonable risk of personal injury. Id. at 9.
24           Plaintiffs individually allege their Pressure Cookers suffered from the Defect.
25    FAC ¶ ¶ 34-35, 44-45. In particular, both Plaintiffs noticed their Pressure Cookers
26    would open, or were not sufficiently locked, despite dangerous pressure building up
27    inside their units. Id.
28                                             -1-
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 1
              The Defect poses a real and significant safety hazard to all users of the Pressure
 2
      Cookers. Plaintiff O’Keefe’s unit exploded and discharged scalding contents on her
 3
      when attempting to open the Pressure Cooker’s lid. Id. at ¶ 34. Plaintiff O’Keefe
 4
      suffered multiple second and third degree burns as a result of the Defect. Id. at ¶ 36.
 5
      Fortunately for Plaintiff Tomlinson, she noticed the Defect in her Pressure Cooker,
 6
      and she stopped using it before she suffered any physical harm. Id. at ¶ 44.
 7
              Maxi-Matic knew or should have known of the Defect, and that it created an
 8
      unreasonable safety risk, but chose to conceal it from unsuspecting customers. Id. at ¶¶
 9
      5, 27, 51, 52, 55, 60, 103, 114, 117, 122, 123, 138. Maxi-Matic’s knowledge of the
10
      Defect can be shown through its internal product testing, civil complaints filed against
11
      it, and online postings complaining the Pressure Cookers failed during normal use. Id.
12
      ¶ 56.
13
              As will be discussed more fully below, these allegations sufficiently state claims
14
      for breach of express and implied warranty, negligence, unjust enrichment, strict
15
      product liability; requests for injunctive and declaratory relief; and for violations of
16
      California’s Consumer Legal Remedies Act (“CLRA”), Unfair Competition Law
17
      (“UCL”), False Advertising Law (“FAL”), and Florida’s Deceptive and Unfair Trade
18
      Practices Act (“FDUTPA”).
19
              Accordingly, Plaintiffs respectfully request that this Court deny Maxi-Matic’s
20
      motion in its entirety.
21
                                       LEGAL STANDARD
22
              Federal Rule of Civil Procedure 8(a)(2) requires that a plaintiff provide “a short
23
      and plain statement of the claim showing that the pleader is entitled to relief,” such
24
      that the defendant receives “fair notice” of the claims against it.   To survive a motion
25
      to dismiss under Rule 12, a complaint must “state a claim to relief that is plausible on
26
      its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) (discussing Fed. R. Civ. P.
27
      12). The court must “accept the plaintiff’s allegations as true and view them in the
28                                        -2-
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 1    light most favorable to her.” See Park v. Thompson, 851 F.3d 910, 918 (9th Cir. 2017).
 2    Allegations of fraud must be pleaded “with particularity,” but allegations of a
 3    defendant’s knowledge or intent may be made “generally.” Fed. R. Civ. P. 9(b); Ashcroft
 4    v. Iqbal, 556 U.S. 662, 686 (2009). Within the context of Rule 9, a party is excused
 5    “from pleading [] intent under an elevated pleading standard” but must still include a
 6    “short and plain statement of the claim,” as required under Rule 8. Iqbal, 556 U.S. at
 7    687.
 8             Although Plaintiffs bear the burden of establishing standing, “general factual
 9    allegations of injury resulting from the defendant's conduct may suffice” at the
10    pleading stage. In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices, &
11    Prods. Liab. Litig., 754 F. Supp. 2d 1145, 1160 (C.D. Cal. Nov. 30, 2010) (quoting Lujan
12    v. Defenders of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992)).
13                                         ARGUMENT
14    I.       Plaintiffs have sufficiently alleged where the product was purchased.
15             Plaintiffs First Amended Complaint states they purchased their Pressure
16    Cookers online through the Home Shopping Network website and had them shipped
17    to their homes. FAC ¶¶ 13-14, 29, 40. Plaintiffs reside in Lecanto, Florida. Id. at 13-14.
18    Consequently, it is plainly obvious from the face of the First Amended Complaint that
19    Plaintiffs purchased their Pressure Cookers in Florida. Even a cursory review of the
20    First Amended Complaint shows that Maxi-Matic’s contention that Plaintiffs are
21    “obfuscating the state in which the pressure cookers were purchased” is objectively
22    false. (Def. Mem. 6).
23    II.      California law should apply to Plaintiffs’ claims.
24             Maxi-Matic spends a considerable amount of its memorandum discussing why
25    Florida law should govern Plaintiffs’ claims. Maxi-Matic’s arguments miss the mark
26    and omit both relevant facts and applicable legal principles. The application of
27    California law to most, if not all, of the Plaintiffs’ claims is warranted, but where
28    material facts are necessary to make an-3-
                                              appropriate choice-of-law determination, such
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  1   a decision is premature and should be delayed until the Plaintiffs’ motion for class
  2   certification.
  3          A federal court sitting in diversity applies the choice-of-law rules of the forum
  4   state. Klaxon Co. v. Senator Elec. Mfg. Co., 313 U.S. 487, 496 (1941); Marsh v. First Bank of
  5   Del., No. 11-cv-05226-WHO, 2014 WL 554553, at *14 (N.D. Cal. Feb. 7, 2014)
  6   (“When a federal court sitting in diversity hears state law claims, the conflicts laws of
  7   the forum state are used to determine which state’s substantive law applies.” (quoting
  8   Orange Street Partners v. Arnold, 179 F.3d 656, 661 (9th Cir. 1999)). The law of the
  9   forum, “will be displaced only if there is a compelling reason for doing so.” Kasel v.
 10   Remington Arms Co., 101 Cal. Rptr. 314, 327 (1972) (quoting Ehrenzweig, Conflict of
 11   Laws (1962) section 213, page 555). The forum’s law is “applicable unless either the
 12   plaintiff or the defendant has been forced into a forum devoid of any such contact as
 13   would justify application of its own law.” Id. “[S]o long as the requisite significant
 14   contacts to California exist, a showing that is properly borne by the class action
 15   proponent, California may constitutionally require the other side to shoulder the
 16   burden of demonstrating that foreign law, rather than California law, should apply to
 17   the class claims.” Marsh, 2014 WL 554553 at *14 (citing Parkinson v. Hyundai Motor Am.,
 18   258 F.R.D. 580, 598 (C.D. Cal. Dec. 12, 2008).
 19          To measure significant contacts, district courts weigh various allegations in the
 20   complaint. The location of the defendant’s headquarters is a factor, as well as where
 21   the defendant resides or conducts business. Marsh, 2014 WL 554553 at *11. “As one
 22   federal district court in California held when granting class certification, ‘maintaining
 23   corporate headquarters in California during the class period and selling approximately
 24   30% of the allegedly misrepresented products in California’ amounted to a ‘significant
 25   aggregation of contacts with California’ even though the products were produced out-
 26   of-state.” Id. (quoting Bruno v. Quten Research Inst., LLC, 280 F.R.D. 524, 538 (C.D. Cal.
 27   Nov. 14, 2011).
 28                                             -4-
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  1         As alleged in the Amended Complaint, Maxi-Matic is a foreign for-profit
  2   corporation, organized and existing under the laws of the State of California, FAC ¶
  3   15, and registered to conduct business in California. Id. ¶ 10. Maxi-Matic’s principal
  4   office is located in City of Industry, California. Id. ¶ 15. Maxi-Matic designs,
  5   manufacturers, markets, and sells the Pressure Cooker online and through third-party
  6   retailers throughout the United States. Id. And importantly, Maxi-Matic’s California
  7   headquarters serves as a repair center and hub for all product returns. The owner’s
  8   manual that accompanies the Pressure Cookers lists the company’s address on page 47:
  9   “Maxi-Matic, USA, 18401 E. Arenth Ave., City of Industry, CA 91748.” (FAC Ex. A,
 10   p. 25). This is the same address provided for any product returns. (Id. at 26). The
 11   manual acknowledges that Maxi-Matic will decide whether to “repair or replace” a
 12   defective item once the item is “received by [Maxi-Matic’s] warehouse” in California,
 13   and will ship the repaired or new item back to the consumer. (Id.) Maxi-Matic
 14   undoubtedly has “the requisite significant contacts to California.”
 15         The Court must determine whether a choice-of-law analysis is appropriately
 16   decided on Maxi-Matic’s Rule 12 motion, which depends on the allegations and claims
 17   in the specific case. See Czuchaj v. Conair Corp., No. 13-CV-1901-BEN (RBB), 2014 U.S.
 18   Dist. LEXIS 54410 (S.D. Cal. Apr. 16, 2014); Hamby v. Ohio Nat’l Life Assur. Corp., No.
 19   12-122, 2012 U.S. Dist. LEXIS 90737, 2012 WL 2568149, at *2 (D. Haw. June 29,
 20   2012). California district courts have denied motions to dismiss nationwide class claims
 21   based on the need to conduct a case-specific choice-of-law analysis. Bruton v. Gerber
 22   Prod. Co., No. 12-CV-2412, 2014 WL 172111, at *13 (N.D. Cal. Jan. 15, 2014) (denying
 23   foreign company's motion to dismiss nationwide class claims where plaintiffs asserted
 24   California consumer protection statutes on behalf of foreign class members who made
 25   out-of-state purchases of products); Won Kyung Hwang v. Ohso Clean, Inc., No. C-12-
 26   06355, 2013 WL 1632697, at *21 (N.D. Cal. Apr. 16, 2013) (A choice-of-law “inquiry
 27   is most appropriate at the class certification stage of the case, after the parties have
 28   engaged in discovery.”).                -5-
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  1          Even if one assumes that Florida’s law might apply to certain consumer
  2   protection claims, discovery is still required to determine the relevant facts and
  3   interests of each state. The Court should decline to dismiss Plaintiffs’ claims on Maxi-
  4   Matic’s Rule 12 motion to the extent that its motion is based on Maxi-Matic’s
  5   premature choice-of-law analysis.
  6   III.   Plaintiffs have sufficiently pleaded their claim for breach of express
  7          warranty.

  8          Maxi-Matic focuses its attention on Florida law, arguing that Plaintiffs’ claim for

  9   breach of express warranty fails under Florida law for certain specific reasons. (Def.

 10   Mem. 13-14.) However, because Maxi-Matic is located in California, and for the many

 11   other reasons noted above, see supra Section II., California law—not Florida law—

 12   applies here.

 13          Where a plaintiff brings suit for breach of express warranty against a

 14   manufacturer, the plaintiff need not give pre-suit notice of its claim. Rosales v. FitFlop

 15   USA, LLC, 882 F. Supp. 2d 1168, 1178 (S.D. Cal. Feb. 8, 2012) (California

 16   Commercial Code Section 2607’s requirement for pre-suit notice of breach of express

 17   warranty claims does not apply to claims brought against manufacturers of products).

 18   Moreover, where the claim is brought as part of a class action suit, California courts

 19   have found that notice likely is satisfied where there is proof that complaints have

 20   been brought by some consumers—even if not by all members of a given putative

 21   class. Metowski v. Traid Corp., 28 Cal. App. 3d 332, 340 (Cal. Ct. App. 1972). Thus,

 22   although pre-suit notice is required for some breach of express warranty claims, see Cal.

 23   Comm. Code § 2607, notice is not required for Plaintiffs’ claims here, either on behalf

 24   of themselves or of the putative class against the manufacturer.

 25          Maxi-Matic also contends that Plaintiffs’ claim fails because Plaintiffs have

 26   alleged only a design defect. (Def. Mem. 13.) This is simply wrong. While Maxi-Matic

 27   correctly notes that the express warranty covers manufacturing defects, FAC ¶ 80,

 28   Maxi-Matic ignores that Plaintiffs have, in fact, alleged both manufacturing and design
                                              -6-
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  1   defects. Id. ¶¶ 18, 46, 98. So long as Plaintiffs allege a manufacturing defect, their claim
  2   for breach of express warranty will survive a motion to dismiss. See Johnson v. Nissan N.
  3   Am., Inc., 272 F. Supp. 3d 1168, 1177-78 (N.D. Cal. Aug. 29, 2017). In Johnson, the
  4   defendant argued that its express warranty only covered manufacturing defects, and
  5   sought dismissal of the plaintiffs’ express warranty claims by asserting the plaintiffs
  6   only alleged design defects. Id. at 1176-77. The Johnson court agreed that the express
  7   warranty only covered manufacturing defects, but nevertheless found that the
  8   plaintiffs’ claim for breach of express warranty was sufficiently pleaded because the
  9   plaintiffs alleged defects in both design and manufacturing. Id. at 1177-78.
 10          As in Johnson, Plaintiffs here had pleaded defects both in design and
 11   manufacturing. FAC ¶¶ 18, 46, 98. Therefore, Plaintiffs have pleaded a defect covered
 12   by the express warranty, see id. ¶ 80, and have sufficiently pleaded a claim for breach of
 13   the express warranty.
 14          Maxi-Matic additionally asserts that Plaintiffs lack privity necessary to assert
 15   their claim for breach of express warranty. (Def. Mem. 14.) However, “[p]rivity is
 16   generally not required for liability on an express warranty because it is deemed fair to
 17   impose responsibility on one who makes affirmative claims as to the merits of the
 18   product, upon which the remote consumer presumably relies. Cardinal Health 301, Inc.
 19   v. Tyco Electronics Corp., 169 Cal. App. 4th 116, 143-44 (Cal. Ct. App. 2008); see also
 20   Hauter v. Zogarts, 534 P.2d 377, 387 n.8 (Cal. 1975). Strict adherence to privity rules for
 21   express warranty causes of action has not been required in the products liability
 22   context. Dagher v. Ford Motor Co., 238 Cal. App. 4th 905, 927 (Cal. Ct. App. 2015)
 23   (citing Hauter, 534 P.2d at 387 n.8; Seely v. White Motor Co., 403 P.2d 145, 148 (Cal.
 24   1965)). Although Plaintiffs do not allege that they are strictly in privity with Maxi-
 25   Matic, this does not bar their claim for breach of express warranty. No such
 26   requirement exists under California law in order to maintain a claim for breach of the
 27   express warranty associated with a product. E.g., Hauter, 534 P.2d at 387 n.8; Seely, 403
 28   P.2d at 148; Cardinal Health, 169 Cal. App.
                                               -7- 4th at 143-44.
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  1         For these reasons, Plaintiffs have sufficiently pleaded their claim for breach of
  2   express warranty and the Court should deny Maxi-Matic’s motion on that claim.
  3   IV.   Plaintiffs have adequately pleaded their claim for breach of implied
  4         warranty.

  5         Maxi-Matic first contends that Plaintiffs’ claim for breach of implied warranty

  6   fails because Plaintiffs are not in privity with Maxi-Matic, which Maxi-Matic asserts is

  7   required for such a claim under Florida law. (Def. Mem. 14.) However, as discussed

  8   supra, this Court should analyze Plaintiffs’ claims under California law. Maxi-Matic

  9   acknowledges privity is not required for an implied warranty claim under California

 10   law. (Def. Mem. 7-8.)

 11         In California, a breach of the implied warranty of merchantability means "the

 12   product did not possess even the most basic degree of fitness for ordinary use." Mocek

 13   v. Alfa Leisure, Inc., 114 Cal. App. 4th 402, 406, 7 Cal. Rptr. 3d 546 (2003) (citing Cal.

 14   Com. Code § 2314(2)). “Such fitness is shown merely by the product being in safe

 15   condition and substantially free of defects.” Brand v. Hyundai Motor Am., 226 Cal. App.

 16   45h 1538, 1546 (Cal. Ct. App. 2014) (quoting American Suzuki Motor Corp. v. Super. Ct.,

 17   37 Cal. App. 4th 1291, 1296 (Cal. Ct. App. 1995). “Goods are merchantable if they (a)

 18   Pass without objection in the trade under the contract description; and (b) In the case

 19   of fungible goods, are of fair average quality within the description; and (c) Are fit for

 20   the ordinary purposes for which such goods are used; and (d) Run, within the

 21   variations permitted by the agreement, of even kind, quality, and quantity within each

 22   unit and among all units involved; and (e) Are adequately contained, packaged, and

 23   labeled as the agreement may require; and (f) Conform to the promises or affirmations

 24   of fact made on the container or label if any.” Roberts v. Electrolux Home Prods., 2013

 25   WL 7753579, *4 (C.D. Cal. Mar. 4, 2013) (citing Cal. Com. Code § 2314(2)). Plaintiffs

 26   have alleged facts showing the Pressure Cookers did not satisfy these requirements.

 27   Maxi-Matic next argues that Plaintiffs’ implied warranty claim should be dismissed due

 28   to a lack of pre-suit notice. (Def. Mem. 14. As discussed in Section III, supra, plaintiff
                                             -8-
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  1   consumers are not required to provide pre-suit notice to manufacturers. “[F]ederal
  2   district courts in California have routinely held that plaintiffs are not required to
  3   provide pre-suit notice to a remote seller/manufacturer with whom they have not
  4   dealt.” In re Carrier IQ, Inc., Consumer Privacy Litig., 78 F. Supp. 3d 1051, 1103 (N.D. Cal.
  5   Jan. 21, 2015) (citations omitted). Consequently, Plaintiffs have sufficiently pleaded
  6   their implied warranty claim, and this Court should deny Maxi-Matic’s motion on that
  7   claim.
  8   V.       Plaintiffs’ unjust enrichment claim is appropriately asserted in the
  9            alternative to their other claims.

 10            Rule 8 of the Federal Rules of Civil Procedure specifically authorizes claims

 11   asserted in the alternative, as well as inconsistent claims. Fed. R. Civ. P. 8(d)(2), (3).

 12   California specifically allows pleading unjust enrichment as an alternative to other

 13   claims.    It is appropriate for Plaintiffs to assert equitable claims, such as unjust

 14   enrichment, even if there may be an adequate remedy at law through an award of

 15   monetary damages, e.g., for breach of a written warranty.

 16   Glenn v. Hyundai Motor Am., No. SACV152052DOCKESX, 2016 WL 7507766 (C.D.

 17   Cal. Nov. 21, 2016), is instructive. The California Court explained that,
               when a plaintiff alleges unjust enrichment, a court may “construe the
 18            cause of action as a quasi-contract claim seeking restitution.” [Astiana v.
 19            Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015)] (quoting
               Rutherford Holdings, LLC v. Plaza Del Rey, 223 Cal. App. 4th 221, 231
 20            (2014)). Furthermore, “restitution may be awarded in lieu of breach of
               contract damages when the parties had an express contract, but it was
 21            procured by fraud or is unenforceable or ineffective for some reason.”
 22            (emphasis added) (quoting McBride v. Boughton, 123 Cal. App. 4th 379, 388
               (2004)) (internal quotation marks omitted). Thus, “a claim for restitution
 23            is permitted even if the party inconsistently pleads a breach of contract
               claim that alleges the existence of an enforceable agreement.” Rutherford
 24            Holdings, 223 Cal. App. 4th at 231.
 25   Glenn, 2016 WL 7507766 at *5.
 26            Maxi-Matic has challenged Plaintiffs’ express and implied warranty claims based,
 27   among other arguments, on Plaintiffs’ alleged lack of privity. Plaintiffs have also
 28   asserted claims based on Maxi-Matic’s conduct
                                             -9-    in concealing and failing to disclose the
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  1   Defect before Plaintiffs bought the product – claims which are separate from Plaintiffs’
  2   warranty claims.      See Glenn, 2016 WL 7507766 at *6 (refusing to dismiss unjust
  3   enrichment claims because plaintiffs’ allegations “describe the theory underlying a
  4   claim that ... [D]efendant has been unjustly conferred a benefit through mistake, fraud,
  5   coercion, or request.”)
  6             At this preliminary stage of the litigation, the Court should decline to dismiss
  7   Plaintiffs’ claims for unjust enrichment until the facts and claims of the Plaintiffs and
  8   putative class members can be more fully developed.
  9   VI.       Plaintiffs’ negligence and strict liability claims.
 10             Plaintiff Tomlinson has not alleged any claims for damage to other property or
 11   for bodily harm, so she does not object to the court dismissing her claims for
 12   negligence and strict liability without prejudice.       Maxi-Matic does not challenge
 13   Plaintiff O’Keefe’s claims for negligence and strict liability — nor could they in light of
 14   the serious physical injuries she sustained — and thereby concede those claims were
 15   properly pleaded. Additionally, other putative class members may have sustained
 16   physical injuries or property damage, or both, in light of the nature of the Defect.
 17   VII. Plaintiffs’ FDUTPA claim has been adequately pleaded.
 18             A.    Plaintiff O’Keefe has standing to pursue her FDUTPA claim.
 19             Maxi-Matic argues that Ms. O’Keefe lacks standing to bring a FDUTPA claim
 20   because Ms. Tomlinson (her mother) purchased the Pressure Cookers, not Plaintiff
 21   O’Keefe. Maxi-Matic argues that Ms. O’Keefe cannot claim or recover any damages
 22   as a non-purchaser under the statute. That is incorrect. Ms. O’Keefe has standing to
 23   pursue a FDUTPA claim for money damages as well as injunctive and declaratory
 24   relief.
 25                   1.     Non-purchasers have standing to pursue money damages
                             under FDUTPA.
 26
                Maxi-Matic’s argument fails because non-consumers have been allowed to
 27
      pursue claims for damages under FDUTPA. See, e.g., James D. Hinson Elec. Contracting
 28                                            -10-
      Co., Inc. v. Bellsouth
       PLAINTIFFS’           Telecommunications,
                    MEMORANDUM      IN OPPOSITIONInc.,TONo. 3:07–cv–598–J–32MCR,
                                                        DEFENDANTS’                2008 WL
                                                                    MOTION TO DISMISS
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  1   360803, at *2–3 (M.D. Fla. Feb. 8, 2008); Furmanite America, Inc. v. T.D. Williamson, Inc.,
  2   506 F.Supp.2d 1134, 1145–46 (M.D. Fla. Apr. 11, 2007) (“Fla. Stat. Section 501.211
  3   provides that any person who has suffered a loss as a result of such practices may
  4   commence a private action for actual damages and possibly attorneys’ fees and court
  5   costs”); Gritzke v. M.R.A. Holding, LLC, No. 4:01CV495-RH, 2002 WL 32107540 at *4
  6   (N.D. Fla. Mar. 15, 2002) (“§ 501.211(2), as amended, merely requires a ‘person’ who
  7   ‘has been damaged by [a] defendant’s violation’ of the statute”); Niles Audio Corp. v.
  8   OEM Systems Co., Inc., 174 F.Supp.2d 1315, 1319-20 (S.D. Fla. Oct. 30, 2001)
  9   (concluding the 2001 amendment “was intended to make damages remedy available to
 10   anyone aggrieved by violation of statute”). Maxi-Matic’s argument ignores the fact that
 11   FDUTPA was amended in 2001, and instead of the statute reading that “[i]n any
 12   individual action brought by a consumer who has suffered a loss as a result of a violation
 13   of this part, such consumer may recover actual damages, plus attorney’s fees and court
 14   costs,” it was changed to state that “[i]n any individual action brought by a person who
 15   has suffered a loss as a result of a violation of this part, such person may recover actual
 16   damages, plus attorney’s fees and court costs.” See Fla. Stat. § 501.211(2) (2007); see also
 17   Hinson, 2008 WL 360803 at *3. “Courts in this district have held that ‘[t]his
 18   amendment [changing consumer to person] demonstrates a clear legislative intent to
 19   allow a broader base of complainants who have been injured by violations of
 20   FDUTPA to seek damages, not just injunctive relief.’” Id.
 21          All that is required at the pleading stage to state a “claim for damages under
 22   FDUTPA” is to allege “three elements: (1) a deceptive act or unfair practice; (2)
 23   causation; and (3) actual damages.” City First Mortgage Corp. v. Barton, 988 So.2d 82, 86
 24   (Fla. Dist. Ct. App.2008). Ms. O’Keefe, like Ms. Tomlinson, alleged those elements. See
 25   FAC ¶¶ 13, 29-39, 147-61. Specifically, Ms. O’Keefe alleges that Maxi-Matic made
 26   “representations that the product was safe, functional, and ready for use” when in fact
 27   it was not. Id. at ¶¶ 32-34. Ms. O’Keefe relied on Maxi-Matic’s unfair and deceptive
 28                                            in the FAC. See e.g., id. at ¶¶ 30, 32-33. As a
      representations and practices described-11-
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  1   result of Maxi-Matic’s unfair and deceptive practices, Ms. O’Keefe used the product as
  2   instructed only to have the pressure cooker’s “scalding hot contents erupt[] out,
  3   spraying all over” her and her kitchen. Id. at ¶ 34. “Plaintiff O’Keefe suffered serious
  4   second and third degree burns” on her body. Id. at ¶ 36. “She has been to the
  5   emergency room on three occasions and has had to undergo numerous follow-up
  6   appointments in order for treatment and wound care.” Id. She “lives with pain and
  7   discomfort from burn marks and has significant scarring from the scalding water that
  8   erupted from the Pressure Cooker.” Id. at ¶ 37. Ms. O’Keefe, thus, sufficiently set
  9   forth her FDUTPA claim.
 10         The fact that Ms. O’Keefe did not directly purchase her pressure cooker does
 11   not deprive her of standing to pursue her FDUTPA claim. Maxi-Matic does not cite
 12   any case under which a court dismissed a FDUTPA claim because a plaintiff did not
 13   directly purchase the product.
 14         Maxi-Matic concedes that “Plaintiffs’ Sixth Cause of Action for alleged violation
 15   of the FDUTPA states Plaintiffs suffered damages under the FDUTPA due to their
 16   purchases of Maxi-Matic’s pressure cookers. (Doc. #33, ¶¶157, 158, 161.)” (Def. Mem.
 17   16.) Yet Maxi-Matic then argues the type of monetary damages available under the
 18   statute and questions whether Plaintiff has any out-of-pocket expenses to recover.
 19   These are factual issues not necessary to plead Ms. O’Keefe’s claim and not proper to
 20   address on a motion to dismiss. Even Maxi-Matic’s cited cases demonstrate the factual
 21   nature of the issues which should not be addressed at the pleading stage. See Rollins, Inc.
 22   v. Heller, 454 So. 2d 580, 584–86 (Fla. Dist. Ct. App. 1984) (determining appeal of a
 23   final judgment, stating“[h]aving upheld the trial court’s finding on the FDUTPA
 24   violation, we now must determine what damages are allowed by the Act.”); Himes v.
 25   Brown & Co. Sec. Corp., 518 So. 2d 937, 938–39 (Fla. Dist. Ct. App. 1987) (“affirm[ing]
 26   the trial court’s final judgment entered after a bench trial”).
              Moreover, Maxi-Matic’s authorities do not support their arguments. For
 27
      example, Maxi-Matic, citing Rollins, contends that “the only damage a plaintiff can
 28   recover is the difference in the market-12-
                                                value of the product between the condition in
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      which it was delivered and the market value in the condition in which it should have
  1
      been delivered according to the contract of the parties.” (Def. Mem. 16) (emphasis
  2   added). Rollins states that under Texas law,
  3          Generally, the measure of actual damages is the difference in the market
  4          value of the product or service in the condition in which it was delivered
             and its market value in the condition in which it should have been
  5          delivered according to the contract of the parties.[citations omitted] A
             notable exception to the rule may exist when the product is rendered valueless as a
  6          result of the defect-then the purchase price is the appropriate measure of actual
             damages. [citation omitted]
  7
             We hold that Florida’s statutes should be interpreted, and actual damages
  8          measured, in a similar manner.
  9   Rollins, 454 So. 2d at 585 (emphasis added). Thus, a plaintiff may be entitled to the
 10   purchase price of the product where a defect (like the one alleged by Ms. O’Keefe)
 11   renders the product valueless because it is unsafe to use. Id. Moreover, the Rollins court
 12   found that punitive damages may also be proper under certain circumstances, such as a
 13   showing of fraud. Id. at 586. Rollins also predates the 2001 amendment discussed
 14   above. Rollins evaluated whether the damages were the subject of a “consumer
 15   transaction,” but the 2001 amendment also eliminated that language from the statute.
 16   See Rollins, 454 So. 2d at 584.
 17          Himes is also of little help to Maxi-Matic. Maxi-Matic cites Himes for the
 18   proposition that “Plaintiff must have out-of-pocket losses in order to recover under
 19   FDUTPA.” (Def. Mem. 16.) That is not true. Himes states, in relevant part:
 20          In Florida, unless the fact-finder is presented with evidence which will
 21          enable it to determine damages for lost profits with a reasonable degree
             of certainty, rather than by means of speculation and conjecture, the
 22          claimant may not recover such damages. [citations]. Since Himes did not
             suffer any out-of-pocket damages, the trial court properly denied him recovery because
 23          his claimed damages for lost profits are speculative. His only claim is that Brown's
             actions deprived him of anticipated profits because he would have sold
 24          (or purchased, in the case of the short sale) the securities at the optimal
 25          time and earned a profit.

 26   Himes, 518 So. 2d at 938-39 (emphasis added). There has not been any discovery as to
 27   Ms. O’Keefe’s out-of-pocket expenses (such as any expenses for her three ER visits or
 28                                               -13-
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  1   follow-up medical care – see FAC ¶ 36), or any other damages she may be able to
  2   recover under FDUTPA, so Max-Matic’s motion should be denied.
  3                2.     Ms. O’Keefe also has standing to pursue a FDUTPA claim
                          for injunctive or declaratory relief.
  4
            Even if Ms. O’Keefe could not seek money damages under FDUTPA, she
  5
      would still be able to pursue injunctive and declaratory relief. In order to state a claim
  6
      for injunctive and declaratory relief under FDUTPA, a plaintiff must merely allege that
  7
      defendant engaged in a deceptive act or practice and that plaintiff is an “aggrieved”
  8
      person. Fla. Stat. § 501.211; see Klinger v. Weekly World News, Inc., 747 F.Supp. 1477,
  9
      1480 (S.D. Fla. Oct. 11, 1990). “[A]nyone aggrieved” is a broad term which would
 10
      certainly encompass Ms. O’Keefe. Where a plaintiff seeks money damages along with
 11
      injunctive and declaratory relief, a court need not decide whether it is proper to pursue
 12
      damages under the facts. Kertesz v. Net Transactions, Ltd., 635 F. Supp. 2d 1339, 1350
 13
      (S.D. Fla. Jun. 24, 2009). It is sufficient to simply allege injunctive and declaratory
 14
      relief as a remedy under the statute in order to pursue the claim. Id. Ms. O’Keefe
 15
      sufficiently alleges her claim to injunctive and declaratory relief under FDUTPA, so
 16
      her claim should not be dismissed.
 17
            B.     Plaintiffs have sufficiently alleged a deceptive act, unfair practice,
 18                and causation.
 19         Maxi-Matic attempts to hold Plaintiffs to a heightened pleading standard for a
 20   claim which requires only notice pleading. “[T]he requirements of Rule 9(b)
 21   categorically do not apply to the claims under FDUTPA.” Harris v. Nordyne, LLC, No.
 22   14-CIV-21884, 2014 WL 12516076, at *4 (S.D. Fla. Nov. 14, 2014); see also Reilly v. La.
 23   Pac. Corp., No. 6:12-cv-837-Orl-36GJK, 2013 U.S. Dist. LEXIS 190094, at *12 (M.D.
 24   Fla. Sep. 30, 2013). Thus, a FDUTPA claim based on deceptive and unfair trade
 25   practices, such as concealment and misrepresentation, need only comply with “general
 26   notice pleading requirements.” Id.; see also Siever v. BWGaskets, Inc., No. 608CV-1388-
 27   ORL-19GJK, 2009 WL 528624, at *3 n.1 (M.D. Fla. Mar. 2, 2009) (noting that Rule
 28   9(b) applies only to FDUTPA claims grounded
                                          -14-    in fraud).
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  1           Under the “general notice pleading requirements” that are applicable to this
  2   type of FDUTPA claim, the particularity with which Plaintiffs plead their FDUTPA
  3   claim is sufficient.1 With regard to the first required element, Plaintiffs allege that
  4   Maxi-Matic engaged in deceptive and unfair acts. In particular, Plaintiffs allege that
  5   “Maxi-Matic failed to adequately design, manufacture, and/or test the Pressure Cooker
  6   to ensure it was free from the Defect before offering it to sale to Plaintiffs and the
  7   Class, despite its duty to do so.” FAC ¶ 46. Maxi-Matic then sold the product with the
  8   Defect which “poses a serious and immediate safety risk to consumers and the public.”
  9   Id. at ¶ 47. Plaintiffs “were unaware of the Defect and could not reasonably be
 10   expected to discover the Defect until their Pressure Cookers failed.” Id. at ¶ 52.
 11   Plaintiffs “expected to use the Pressure Cooker in their homes without putting their
 12   safety and property at risk.” Id. Plaintiffs “expected Maxi-Matic to disclose any Defect
 13   that would prevent the Pressure Cooker from safely performing its intended purpose.”
 14   Id. Indeed, “Maxi-Matic ha[d and has] a duty to protect consumers by warning them
 15   that the Defect poses unreasonable risks of personal injury and/or property damage.”
 16   Id. at ¶ 50. Yet, Maxi-Matic “chose to conceal the existence of the Defect, continued
 17   to sell the Pressure Cooker, and failed to remove the Pressure Cooker from the
 18   marketplace.” Id. at ¶ 51. “Maxi-Matic took these actions to realize the substantial
 19   financial benefits of selling the defective Pressure Cooker to the unsuspecting public.”
 20   Id. “Moreover, Maxi-Matic continues to falsely represent through written warranties
 21   that the Pressure Cooker is free from defects, is of merchantable quality, and will
 22   perform dependably for years.” Id. at ¶ 63. “Maxi-Matic has wrongfully placed on
 23   Plaintiffs and Class members the burden, expense, and difficulty involved in
 24   discovering the Defect, repairing and replacing the Pressure Cooker, and paying for
 25
 26   1
       While Plaintiffs allege that Maxi-Matic knew or should have known of the Defect, see
 27   FAC ¶¶ 5, 27, 51, 55, 60, 103, 114, 117, 123, 138, knowledge of a defect is not a
      required element of a FDUTPA claim.
 28                                          -15-
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  1   the cost of damages caused by the Defect.” Id. at ¶ 65. These allegations sufficiently
  2   allege unfair and deceptive acts.2
  3           As to the second element, Plaintiffs allege causation. See FAC ¶¶ 6, 47, 55, 65,
  4   88, 113, 115, 146, 161. In reasonable reliance on Maxi-Matic’s representations, and
  5   without knowledge of the undisclosed Defect, Plaintiffs and Class members purchased
  6   and used the Pressure Cookers and suffered damages. See FAC ¶¶ 6, 28, 38, 45, 157,
  7   178-179, 203. Had Plaintiffs known of the Defect, they would not have purchased the
  8   Pressure Cookers or would have paid significantly less for them. See e.g., id. at ¶ 54;
  9   Harris, 2014 WL 12516076 at *7 (holding causation adequately pleaded under
 10   FDUTPA where it was alleged that class members believed products would function
 11   as intended, defendant concealed defect, and “had class members known about the
 12   defect, they would not have purchased or would have paid less for the systems.”).
 13           Maxi-Matic claims Plaintiffs cannot show “actual reliance,” but that is not an
 14   element of a FDUTPA claim and need not be pled. See id. (“Reliance is not required
 15   for causation under FDUTPA.”); Davis v. Powertel, Inc., 776 So.2d 971, 973 (Fla. Dist.
 16   Ct. App. 2000) (“A party asserting a deceptive trade practice claim need not show
 17   actual reliance on the representation or omission at issue.”). Maxi-Matic argues that
 18   Plaintiffs do “not state any facts showing that the owner’s manual and/or warranty
 19   were made available to consumers as part of any advertising materials in order to
 20
 21   2
       To the extent Maxi-Matic claims the warranty and owner’s manual misrepresentations
      are not disclosed prior to sale and, therefore, cannot induce Plaintiffs to buy the
 22   defective product, the argument is irrelevant. First, that is a factual issue not to be
 23   decided on a motion to dismiss. Second, because the Defect is present at the time of
      sale and Plaintiffs allege that Maxi-Matic knew or should have known of the Defect,
 24   Maxi-Matic’s failure to disclose the Defect qualifies as an unfair act or practice. See
      Harris, 2014 WL 12516076 at *6 (listing cases and explaining that “the type of conduct
 25   actionable under FDUTPA” is “‘extremely broad,’ and has been applied to class action
 26   claims alleging failure to disclose relatively benign product defects.”); see also Merrill
      Lynch Business Financial Services, Inc. v. Performance Machine Systems USA, Inc., 2005 WL
 27   975773, *8 (S.D. Fla. Mar. 4, 2005) (Deception under FDUTPA can be “a
      representation, omission, or practice that is likely to mislead the consumer acting
 28   reasonably in the circumstances, to the-16- consumer’s detriment.”) (emphasis added).
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  1   influence a reasonable consumer’s purchase at the point of sale,” and complains that
  2   “[t]he facts pled do not state that Plaintiff Tomlinson visited any websites or viewed
  3   any representation by Maxi-Matic prior to purchasing the pressure cookers” and
  4   “tends to suggest Plaintiff Tomlinson was most likely induced to purchase the pressure
  5   cooker from representations made by HSN.” (Def. Mem. 17-18.) These arguments are
  6   premised on the incorrect assertion that reliance is an element of a FDUTPA claim, so
  7   they should be rejected.
  8          Plaintiffs also allege the third required element: damages. Plaintiffs allege that
  9   they “have suffered damages, including, without limitation: (a) the purchase price of
 10   the Pressure Cooker, as Plaintiff and the Class would not have purchased the product
 11   had they been informed of the Defect; (b) their failure to receive the benefit of their
 12   bargain; (c) their overpayment for the Pressure Cooker; (d) the diminished value of the
 13   Pressure Cooker; (e) the costs of repair or replacement of the Pressure Cooker; (f)
 14   damages to real and/or personal property; and (g) damages for personal injuries.” See
 15   FAC ¶ 28; see id. at ¶¶ 38, 45. Moreover, Plaintiffs allege that “[t]he Pressure Cookers
 16   that Plaintiffs and Class members purchased were subject to the Defect and can cause
 17   personal injuries, and for some Class members including Plaintiff O’Keefe, already
 18   have caused significant personal injuries” as discussed above. Id. at ¶ 88. Consequently,
 19   Plaintiffs have adequately alleged damages. See id. at ¶¶ 7 (“Plaintiffs’ Pressure Cooker
 20   failed…resulting in significant and painful personal injury and property damage.”), 28,
 21   38, 61, 65, 92, 96, 110, 125, 141, 146, 169.
 22          Since Plaintiffs have more than adequately pleaded the elements of their
 23   FDUTPA claim, that claim should not be dismissed.
 24   VIII. Plaintiffs have properly pleaded claims for injunctive and declaratory
 25         relief.

 26          Maxi-Matic seeks dismissal of Plaintiffs’ declaratory relief claim, arguing

 27   Plaintiffs failed to allege any future injury, and focusing solely on the named Plaintiffs.

 28   While neither Ms. O’Keefe nor Ms. Tomlinson are likely to use their Pressure Cookers
                                          -17-
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  1   in light of their knowledge of the Defect (especially in light of Ms. O’Keefe’s injuries),
  2   they have nevertheless pleaded facts showing that declaratory and injunctive relief is
  3   appropriate in this action.
  4          “Since its inception, the Declaratory Judgment Act has been understood to
  5   confer on federal courts unique and substantial discretion in deciding whether the
  6   declare the rights of litigants.” Wilton v. Seven Falls Co., 515 U.S. 277, 286 (1995). Courts
  7   presiding over class actions have “wide discretion to provide declaratory relief,
  8   independent of its provision via [Fed. R. Civ. P.] 23(b)(2).” Francis E. Parker Mem’l
  9   Home, Inc., 945 F. Supp. 2d 543, 566 (D.N.J. May 20, 2013). Moreover, a declaration of
 10   a product defect and the danger associated with it is commonly requested and
 11   provided under the Declaratory Judgment Act. See e.g., id. (requesting “declaratory
 12   relief as to the Class…[that] the [product] has a defect which results in premature
 13   failure”); Ajose v. Interline Brands, Inc., 187 F. Supp. 3d 899, 909 (M.D. Tenn. 2016) (“In
 14   the context of products liability class action cases, injunctive relief classes under Rule
 15   23(b)(2) typically seek a declaration that a product is defective so that relief can be
 16   easily pursued once the defect manifests itself or causes damages.”); In re Atlas Roofing
 17   Corp. Chalet Shingle Prod. Liab. Litig., 22 F. Supp. 3d 1322, 1331–32 (N.D. Ga. 2014).
 18   Because Plaintiffs’ requests for declaratory relief are typical of that requested and
 19   granted in products liability class action cases, it stands to reason that such a
 20   declaration does indeed declare the “rights, duties, and status or other legal relations
 21   between the parties.” Nationwide Mut. Fire Ins. Co., 2011 WL 6752561 at *6.
 22          A declaration of defect means that “Rule 23(b)(3) class members are entitled to
 23   damages because the defect already manifested itself…, while Rule 23(b)(2) class
 24   members are guaranteed damages if the defect ever manifests and causes harm….”
 25   Gonzalez v. Corning, 317 F.R.D. 443, 526 (W.D.Pa. Mar. 31, 2016). Thus, “[t]he
 26   inclusion of an equitable relief class seeking declaratory relief accounts for the fact that
 27   not all individuals who own [the product at issue] have already experienced damage.”
 28   Ajose, 187 F. Supp. 3d at 909. “Equitable
                                            -18-relief is the most fitting remedy available to
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  1   individuals who own but have not yet experienced damage due to the [product at
  2   issue].” Id.
  3          As with most products liability class actions, Plaintiffs’ claims are brought with
  4   putative class members in mind. See e.g., FAC ¶¶ 9, 66-74, 165-66. Additionally,
  5   Plaintiffs’ have alleged that ongoing harm will occur in the absence of declaratory and
  6   injunctive relief:
  7      • “Maxi-Matic is still selling the defective Pressure Cooker, concealing the Defect,
  8        failing to notify consumers of the Defect, and failing to recall the Pressure
           Cooker.” (FAC ¶ 62).
  9
         • “When corresponding with customers, Maxi-Matic does not disclose that the
 10        Pressure Cooker suffers from the Defect. As a result, reasonable consumers,
 11        including Plaintiffs and Class members, purchased and used, and continue to
           purchase and use, the Pressure Cookers in their homes even though it is unsafe
 12        to do so.” (FAC ¶ 64).
 13      • “Maxi-Matic will continue to commit the unlawful practices alleged herein, and
 14        Class members will remain at an unreasonable and serious safety risk as a result
           of the defect.” (FAC ¶ 73).
 15
         • “Plaintiffs and Class members have suffered actual damage or injury or are in
 16        immediate risk of suffering actual damage or injury due to the Defect. Maxi-
 17        Matic should be required to take corrective action to prevent further injuries,
           including: (a) issuing a nationwide recall of the Pressure Cooker; (b)
 18        issuingwarnings and/or notices to consumers and the Class concerning the
 19        Defect; and (c) immediately discontinuing the manufacture, production,
           marketing, distribution, and sale of the defective Pressure Cooker.” (FAC ¶
 20        169).
 21          There are undoubtedly consumers who own a Pressure Cooker, but have yet to
 22   experience the Defect. Moreover, unlike some product liability class actions where the
 23   product at issue simply fails to work properly but presents no safety risk, the Defect in
 24   this case presents a real and significant safety hazard to unsuspecting users. These are
 25   imminent future injuries which were appropriately pleaded and adequately address the
 26   types of injury required for declaratory relief.
 27          Not only has declaratory relief been properly pleaded, it would provide a
 28   measure of justice and “promote judicial
                                          -19-economy by facilitating the[] [putative class
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  1   members’] damages claims, should they arise, rather than leaving them to wait for [the
  2   defect to occur] and then bring suit individually or petition to intervene in this action.”
  3   Ajose, 187 F. Supp.3d at 909. Plaintiffs’ declaratory and injunctive claims should be
  4   allowed to proceed.
  5   IX.   Plaintiffs have sufficiently pleaded their fraud-related claims.
  6         “[S]ellers can be liable for making affirmative misrepresentations as well as for
  7   failing to disclose defects in a product” for fraud-based claims. See Baba v. Hewlett–
  8   Packard Co., No. 09–05946, 2010 WL 2486353, *3 (N.D. Cal. June 16, 2010) (internal
  9   quotations and citation omitted). Plaintiffs can plead either omission or affirmative
 10   misrepresentations and are not required to allege both. “An actionable omission can
 11   arise when the defendant had exclusive knowledge of material facts not known to the
 12   plaintiff.” Mui Ho v. Toyota Motor Corp., 931 F. Supp. 2d 987, 998 (N.D. Cal. Mar. 14,
 13   2013) (internal citation and quotations omitted).
 14         While fraud-based claims are subject to Rule 9(b) and generally require a
 15   plaintiff to plead time, place, and specific content of the alleged fraud, “[w]hen a claim
 16   rests on allegations of fraudulent omission, however, the Rule 9(b) standard is
 17   somewhat relaxed because a plaintiff cannot plead either the specific time of an
 18   omission or the place, as he is not alleging an act, but a failure to act.” Asghari v.
 19   Volkswagen Grp. of Am., Inc., 42 F. Supp. 3d 1306, 1325–26 (C.D. Cal. Nov. 4, 2013)
 20   (citation and quotations omitted); see also Eisen v. Porsche Cars North America, Inc., No.
 21   CV 11–9405 CAS, 2012 WL 841019, *3 (C.D. Cal. Feb. 22, 2012) (“claims based on an
 22   alleged fraudulent omission or concealment can succeed without the same level of
 23   specificity required by a normal fraud claim”). A plaintiff need only “set forth an
 24   explanation as to why [the] omission complained of was false and misleading” to state
 25   a claim under Rule 9(b). Bias v. Wells Fargo & Co., 942 F.Supp.2d 915, 932 (N.D. Cal.
 26   Apr. 25, 2013). As one court has explained:
 27         [A]fraud by omission or fraud by concealment claim can succeed without
            the same level of specificity required by a normal fraud claim. ... The
 28         natural consequence of such reasoning
                                            -20-     is, as the California Court of
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              Appeal has stated, that “reliance can be proven in a fraudulent omission
  1           case by establishing that had the omitted information been disclosed, the
  2           plaintiff would have been aware of it and behaved differently.”

  3   In re Anthem, Inc. Data Breach Litig., No. 15-MD-02617-LHK, 2016 WL 3029783, at *35
  4   (N.D. Cal. May 27, 2016) (internal citations omitted).
  5           A.    Plaintiffs have standing because they have alleged they would not
                    have purchased the Pressure Cookers had they known of the defect.
  6
              Maxi-Matic argues Plaintiffs lack standing because Plaintiffs did not specifically
  7
      allege that they saw and read a misrepresentation prior to purchase.3 In Clark v. LG
  8
      Electronics U.S.A., Inc., 2013 WL 5816410 (S.D. Cal. Oct. 29, 2013), the court rejected
  9
      the same argument explaining that “[defendant]’s reliance argument defies common
 10
      sense and real-world business practice” because “[n]o [product] manufacturer would
 11
      ever advertise its product to, in essence, consistently fail” or have problems resulting in
 12
      “nonoperation.” Id. at *6.
 13
              Such advertising would be tantamount to an automobile manufacturer
 14           advertising its vehicle routinely stalls in freeway traffic, or a wireless
              telephone provider advertising a high rate of dropped calls. Such
 15           disclosures do not exist in the real world because they represent product
              or service failure. Product advertising is meant to identify and buttress
 16           product features and value, not denigrate and diminish those qualities.
 17           Under the unusual circumstances pled in this case, reliance may be
              established by [defendant]’s alleged failure to disclose at the point of
 18           purchase the alleged defects which, if true, would seem to negate the
              inherent purpose of the product.
 19
 20   Id. at *6. Thus, in Clark, the plaintiff’s contentions that she would not have purchased

 21   the product had she known of the defect were sufficient to support her CLRA and

 22   UCL claims. Id., at *6; see also Kwikset Corp. v. Superior Court, 246 P.3d 877 (Cal. 2011).

 23
 24
 25
      3
        Reliance is not required for all of Plaintiffs’ fraud-based claims. See e.g., In re Tobacco II
      Cases, 46 Cal.4th 298, 312 (Cal. 2009) (the UCL fraudulent practice prong “has been
 26   understood to be distinct from common law fraud.... ‘A [common law] fraudulent
      deception must be actually false, known to be false by the perpetrator and reasonably
 27   relied upon by a victim who incurs damages. None of these elements are required to
 28   state a claim for injunctive relief’ under the UCL.”).
                                                -21-
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  1   Just like the plaintiff in Clark, Plaintiffs have alleged they would not have purchased
  2   their Pressure Cookers had they known of the Defect. FAC ¶ 28, 38, 45, 54, 179, 203.
  3   Nor would Maxi-Matic ever advertise its product in a manner that would suggest the
  4   Pressure Cookers could explode and burn the user. In this way, Maxi-Matic
  5   misrepresented the true quality and character of its product, and because the Defect
  6   presented a safety risk, Maxi-Matic was required to disclose it. Wilson v. Hewlett-Packard
  7   Co., 668 F.3d 1136, 1141 (9th Cir. 2012). As a direct and proximate result of the
  8   misrepresentation, concealment, and failure to disclose, Plaintiffs have standing
  9   because they suffered damage which they could have avoided if they had known about
 10   the defect at the time they were considering purchasing the Pressure Cookers.
 11         B.     Plaintiffs sufficiently allege Maxi-Matic’s pre-sale knowledge of the
                   Defect.
 12
            Plaintiffs have alleged Maxi-Matic knew or should have known of the Defect
 13
      before any of Plaintiffs’ purchases of their Pressure Cookers. FAC ¶¶ 55-65. Maxi-
 14
      Matic’s experience designing and selling the Pressure cookers illustrate that Maxi-Matic
 15
      knew or should have known of the Defect. Id. at ¶ 60. Plaintiffs also allege that there
 16
      were numerous other sources of information available to Maxi-Matic that illustrate
 17
      Maxi-Matic, knew or should have known the Pressure Cookers were defective; namely,
 18
      the litany of personal injury lawsuits filed against it regarding the Pressure Cookers, its
 19
      internal testing data, and online consumer complaints. Id. at ¶ 56. By alleging the
 20
      knowledge of which Maxi-Matic was directly aware, Plaintiffs have sufficiently alleged
 21
      that Maxi-Matic either knew or should have known of the existence of the Defect.
 22
      Therefore, Plaintiffs have sufficiently alleged Maxi-Matic’s knowledge of the Defect at
 23
      the time Plaintiffs purchased their Pressure Cookers.
 24
            Consequently, the Court should deny Maxi-Matic’s motion to dismiss Plaintiffs’
 25
      fraud-based claims under the FAL, UCL, and CLRA.
 26
 27
 28                                           -22-
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  1   X.     Alternatively, Plaintiffs request leave to re-plead any claims upon which
             the Court grants Maxi-Matic’s motion.
  2
             “In dismissing for failure to state a claim, ‘a district court should grant leave to
  3
      amend even if no request to amend the pleading was made, unless it determines that
  4
      the pleading could not possibly be cured by the allegation of other facts.’” Doe v. United
  5
      States, 58 F.3d 494, 497 (9th Cir. 1995) (citing to Cook, Perkiss & Liehe v. N. Cal.
  6
      Collection Service, 911 F.2d 242, 247 (9th Cir.1990); see also Engurasoff v. Coca-Cola Co.,
  7
      2014 WL 4145409 at *2 (N.D. Cal. Aug. 21, 2014) (citations omitted). This principle
  8
      effectuates the public policy embodied in Rule 15(a)(2) of the Federal Rules of Civil
  9
      Procedure, that courts “should freely give leave when justice so requires.” The policy
 10
      of freely allowing parties to amend their pleadings “is to be applied with extreme
 11
      liberality.” Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001).
 12
             As discussed above, Plaintiffs assert that their claims have all been properly
 13
      pleaded. If, however, the Court determines that Plaintiffs have failed to plead any of
 14
      their claims with the requisite specificity, or that an essential substantive allegation is
 15
      missing, Plaintiffs respectfully request that the Court grant them leave to amend their
 16
      complaint to address any deficiencies.
 17
                                       Conclusion And Prayer
 18
             For the reasons discussed herein, Plaintiffs respectfully pray that the Court deny
 19
      Maxi-Matic’s motion to dismiss in its entirety, or in the alternative, grant Plaintiffs
 20
      leave to amend their complaint to re-plead any claims upon which the Court grants the
 21
      motion.
 22
 23
 24
 25
 26
 27
 28                                            -23-
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      Date: March 19, 2018
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